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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


James A. Burk, Jr., et al.                  :
                                            :
              Plaintiffs,                   :              Civil Action No. 2:20-cv-6256
                                            :
       v.                                   :              Judge Graham
                                            :
City of Columbus, et al.,                   :              Magistrate Judge Vascura
                                            :
              Defendants.                   :


                            ORDER AMENDING CASE SCHEDULE

       This matter comes before the Court on the parties' Joint Motion to Extend and Modify

Case Schedule (ECF No. 6). For good cause shown, the Motion is GRANTED. The case

schedule is amended as follows:

   •   Primary expert reports:            January 20, 2022

   •   Rebuttal expert reports:           February 22, 2022

   •   Discovery cut-off:                 April 15, 2022

   •   Dispositive motion(s):             June 15, 2022

       IT IS SO ORDERED.

                                                  /s/ Chelsey M. Vascura
                                                 ____________________________________
                                                 CHELSEY M. VASCURA
                                                 UNITED STATES MAGISTRATE JUDGE
